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                            THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

   QUANTUM TECHNOLOGY
   INNOVATIONS, LLC,
                    Plaintiff,
          v.                                            CIVIL ACTION NO.
   VALVE CORPORATION,
   GEARBOX SOFTWARE, L.L.C.,                            JURY TRIAL DEMANDED

                    Defendants.




                                  FIRST AMENDED COMPLAINT
         Plaintiff files this complaint for patent infringement of U.S. Patent 7,650,376, titled
  “Content distribution system for distributing content over a network, with particular applicability
  to distributing high-bandwidth content,” and alleges as follows:
                                              PARTIES
         1.      Plaintiff Quantum Technology Innovations, LLC is a private limited liability
  company incorporated under the laws of the State of Wyoming.
         2.      Defendant Valve Corporation is a corporation organized and existing under the
  laws of the State of Washington with a principal place of business located at 10900 NE 4th St.,
  Ste. 500, Bellevue, WA 98004. Defendant can be served via its registered agent for service of
  process: Corpserve Inc., 1001 4th Ave., Ste. 4500, Seattle, WA 98154.
         3.      Defendant Gearbox Software, L.L.C. has a principal place of business located at

  5757 Main St., Suite 500, Frisco, Texas, 75034, which is in this District.
         4.      Gearbox Software, L.L.C. and Valve Corporation are collectively referred to herein
  as “Defendant.”




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                                     JURISDICTION AND VENUE

         5.      This action arises under the patent laws of the United States, 35 U.S.C. § 271, et
  seq. Plaintiff is seeking damages for patent infringement.




  Figure 1 – Exhibit C excerpt.
         6.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal
  Question) and 1338(a) (Patents).
         7.      This Court has personal jurisdiction over Defendant. Defendant has continuous and
  systematic business contacts with the State of Texas. Defendant transacts business within this
  District and elsewhere in the State of Texas and has appointed an agent for service of process in




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  Texas. Further, this Court has personal jurisdiction over Defendant based on its commission of
  one or more acts of infringement in this District and in the State of Texas.
         8.       Defendant Valve Corporation directly conducts business extensively throughout
  the State of Texas, by distributing, making, using, offering for sale, selling, and advertising its
  services in the State of Texas and in this District. Valve Corporation has corroborated with Frisco
  based Gearbox Software, L.L.C. for years starting with Half-Life, Counter-Strike, Tiny Tina’s
  Wonderlands, and many other offerings, that have continuations of these popular offerings
  available through present day. Defendant Valve Corporation has purposefully and voluntarily
  made its business services, including the infringing systems and services, available to residents of
  this District and into the stream of commerce with expectation and intention that they will be

  purchased and/or used by consumers in this District as listed below.
     •   Valve Corporation was an Active Texas Franchise Tax Account with Texas Taxpayer
         Number 32072215380.




  Figure 4 - Screenshot of Valve Corporation’s Texas Franchise Tax Account Status as visited on
  August 22, 2023.
     •   Valve has consented to patent infringement litigation in the past in this district. Indeed,
         Valve has even intervened in an on-going patent infringement case here in the Eastern
         District of Texas on behalf of one of its developers, Activision Blizzard, Inc. “Valve, for
         the purposes of this litigation only, consents to venue in this district, . . .” Uniloc v.
         Activision Blizzard, Inc., Case 6:13-cv-00256-LED, Dkt. No. 154-1 (E.D. Tex. Jan. 6,
         2014).
     •   Valve has previously admitted that venue was proper in this district. “Valve does not
         dispute, for the purposes of this action only, that venue is proper in this judicial district,


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         [The Eastern District of Texas] . . .” Display Technologies, LLC v. Nvida Corp. (Valve
         Corp. consolidated), Case 2:15-cv-00998-JRG-RSP, Dkt. No. 41 (E.D. Tex. Oct. 28, 2015)
         [Valve Corp. Answer to Patent Infringement Complaint at ¶4].
     •   Valve sells its Gift Cards in this District through prominent brick and mortar retailers
         including Best Buy, GameStop and Walmart.




  Figure 2 – Screenshot of Valve Gift Cards obtained by clicking on Best Buy, a result from a search
  of “Valve gift cards are sold where?” as conducted on September 14, 2023.




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     •   Upon information and belief, Valve Corp. has at least 5 (five) employees that reside in the
         state, who have relevant information related to this patent infringement lawsuit,


  Figure 3 – Valve Corporation developer community screenshot listing Frisco based Gearbox
  Software, L.L.C. at https://developer.valvesoftware.com/wiki/Gearbox_Software as last visited on
  September 14, 2023.
         9.      Valve has consented to patent infringement litigation in the past in this district.
  Indeed, Valve has even intervened in an on-going patent infringement case here in the Eastern
  District of Texas on behalf of one of its developers, Activision Blizzard, Inc. “Valve, for the
  purposes of this litigation only, consents to venue in this district, . . .” Uniloc v. Activision
  Blizzard, Inc., Case 6:13-cv-00256-LED, Dkt. No. 154-1 (E.D. Tex. Jan. 6, 2014).
         10.     Valve has previously admitted that venue was proper in this district. “Valve does

  not dispute, for the purposes of this action only, that venue is proper in this judicial district,
  [The Eastern District of Texas] . . .” Display Technologies, LLC v. Nvida Corp. (Valve Corp.
  consolidated), Case 2:15-cv-00998-JRG-RSP, Dkt. No. 41 (E.D. Tex. Oct. 28, 2015) [Valve Corp.
  Answer to Patent Infringement Complaint at ¶4].
         11.     Valve sells its Gift Cards in this District through prominent brick and mortar
  retailers including Best Buy, GameStop and Walmart.

         12.     On information and belief, Valve has agreements with Gaming Cafés in this District
  and Texas that allow it to inspect the premises at any time. (Figure 3).
     o One example is GG EZ Gaming Cafe, 2001 Coit Rd STE 210, Plano, TX 75075.
     o Another example is The Kardboard Box Gaming Lounge, located at 2963 West 15th Street,
  Suite 2995, Plano, Texas 75075. See https://thekardboardbox.com/contact/, as last visited on
  January 26, 2024.




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     Figure 2 – Excerpt from https://thekardboardbox.com/contact/, as last visited on January 16,
  2024, which is Plano’s Kardboard Box Gaming Lounge website.


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      Figure 3 – Screenshot of Valve Gift Cards obtained by clicking on Best Buy, a result from a
  search of “Valve gift cards are sold where?” as conducted on September 14, 2023.
          13.     Venue is proper in this District as to Defendant pursuant to at least 28 U.S.C. §§
  1391(c)(2) and 1400(b). As noted above, Defendant maintains a regular and established business
  presence in this District.
                                          PATENT-IN-SUIT
          14.     Plaintiff refers to and incorporates the allegations in the above paragraphs as if set
  forth fully herein.



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          15.     QTI is the owner of all right, title, and interest in the Patent-in-Suit, including the
  right to sue for past, present, and future infringement thereof and to collect damages for any such
  past, present, or future infringement. The inventions disclosed and claimed in the ’376 Patent
  comprising, inter alia, distribution of media content via a decentralized computer network, provide
  numerous benefits over any prior methods, systems, apparatuses, and/or computer-readable media.

  A.      Overview Of The ’376 Patent.

          16.     Plaintiff refers to and incorporates the allegations in the above paragraphs as if set
  forth fully herein.
          17.     The ’376 Patent is titled “Content Distribution System for Distributing Content
  Over a Network, with Particular Applicability to Distributing High-Bandwidth Content.” U.S.
  Patent Application No. 09/774,700, filed on November 20, 2000, and which issued on January 19,
  2010, as U.S. Patent No. 7,650,376, claims priority to U.S. Provisional Patent Application No.
  60/192,165 filed on March 27, 2000.

          1.      Overview of the Prosecution of the ’376 Patent.

          18.     Plaintiff refers to and incorporates the allegations in the above paragraphs as if set
  forth fully herein.

          19.     During prosecution of the ’376 Patent, on December 2, 2005, the patent examiner
  issued a Non-Final Rejection, rejecting then-pending claims 1-20, 22-25, 27-33, and 35-123 under
  35 U.S.C. § 102(e) as being anticipated by U.S. Patent No. 5,956,716 to Kenner et al. (“Kenner”)
  and rejecting then-pending claims 21, 26, and 34 under 35 U.S.C. § 103(a) as being obvious in
  view of Kenner.
          20.     On March 2, 2006, the applicant amended the claims and argued that the cited
  Kenner reference did not render the claims, as amended, unpatentable.
          21.     With regard to the rejections under 35 U.S.C. §§ 102(e) and 103(a), the applicant
  noted in its response to the patent examiner’s rejection that conventional Kenner did not teach,


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  suggest, nor render obvious “‘. . . communicating to a client the identity of a node server having .
  . . specified content stored thereon, thereby enabling the client to request transmission of the
  specified content from the node server,’ as recited in Claim 1.” The applicant further noted that
  conventional Kenner did not teach, suggest, nor render obvious that “an owner of the node server
  [is] offered an incentive as compensation for transmission of the specified content to the client, as
  recited in Claim 1.”
         22.     On June 1, 2006, the examiner issued a Final Rejection maintaining the rejection
  of then- pending claims 1-20, 22-25, 27-33, and 35-123 under 35 U.S.C. § 102(e) as being
  anticipated by Kenner and then-pending claims 21, 26, and 34 under 35 U.S.C. § 103(a) as being
  obvious in view of Kenner.

         23.     On December 1, 2006, the applicant filed a request for continued examination
  (“RCE”). As part of the RCE filing, the applicant, without amending the claims, reiterated the
  previous arguments that the cited Kenner reference did not render the claims, as previously
  amended, unpatentable. At the same time, the applicant added additional claims 124-127.
         24.     In regard to the rejections under 35 U.S.C. §§ 102(e) and 103(a), the applicant noted
  in its response to the patent examiner’s rejection that conventional Kenner neither teaches,
  suggests, nor renders obvious “‘ascertaining that [a] node server transmitted...specific content to

  [a] client,’ as recited in Claim 1.” Further, the applicant specifically noted that the examiner failed
  to address the specific highlighted differences the applicant noted between the claimed invention
  and Kenner.
         25.     On February 23, 2007, the examiner issued a Non-Final Rejection maintaining the
  rejection of then-pending claims 1-20, 22-25, 27-33, and 35-127 under 35 U.S.C. § 102(e) as being
  anticipated by Kenner and then-pending claims 21, 26, and 34 under 35 U.S.C. § 103(a) as being
  obvious in view of Kenner.
         26.     On August 23, 2007, the applicant filed a response and, without amending the
  claims, reiterated the previous arguments that the cited Kenner reference did not render the claims,
  as previously amended, unpatentable. The applicant, again, specifically noted that the examiner


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  failed to address the specific highlighted differences the applicant noted between the claimed
  invention and Kenner.
         27.    On April 25, 2008, the examiner issued a Non-Final Rejection, now rejecting all of
  then- pending claims 1-127 under 35 U.S.C. § 103(a) as being obvious in view of Kenner and U.S.
  Patent No. 5,956,716 (“Guenthner”).
         28.    On August 25, 2008, the applicant filed a response and, without amending the
  claims, argued that the cited combination of Kenner and Guenthner did not render the claims
  unpatentable, nor would it be obvious to combine these references.
         29.    With regard to the rejection under 35 U.S.C. § 103(a), in addition to reiterating the
  applicant’s prior arguments relating to conventional Kenner, the applicant noted that neither

  conventional Kenner, nor conventional Guenthner, alone, or in combination teach, suggest, nor
  render obvious “‘communicating to [a] client the identity of a node server having...specified
  content stored thereon,’ as recited in Claim 1. The applicant further noted that “any teaching,
  whether by Guenthner et al. or anyone else, regarding [this limitation], would be of no use and
  incompatible with the invention taught by Kenner et al., and thus it would not be obvious to
  combine such teaching with the teaching of Kenner at al. to produce an invention as recited in
  Claim 1.”

         30.    On February 4, 2009, the examiner issued a Final Rejection, rejecting then-pending
  claims 35-38, 40-55, 57-76, 95-111, 113-120, 122-123, and 125-127 under 35 U.S.C. § 103(a) as
  being obvious in view of Kenner and Guenthner, and rejected claims 39, 56, and 112 as being
  dependent upon rejected base claims. The examiner allowed then-pending claims 1-34, 77-94, 121,
  and 124.
         31.    On March 2, 2009, the applicant filed a response, canceling then-pending claims
  35-38, 40-55, 57-76, 95-98, 100-111, 113-120, 122-123, and 125-127, amending claims 39, 56,
  99, and 112, and adding additional claims 128-192, and argued that the then-pending claims, as
  amended and added, were not unpatentable in view of Kenner and Guenthner.




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             32.   On March 17, 2009, the examiner issued a Non-Final rejection, rejecting then-
  pending claims 128-160 under 35 U.S.C. § 112, ¶ 1, as containing subject matter not properly
  described in the specification and rejecting then-pending claims 1-34, 39, 56, 124, and 128-160
  under 35 U.S.C. § 112, ¶ 2, as being indefinite. In this Non-Final rejection, the examiner also
  rejected then-pending claims 1-34, 39, 56, 121, 124, and 128-192 under 35 U.S.C. § 101 as being
  directed to non- statutory subject matter.
             33.   On June 17, 2009, the applicant amended the claims and argued that the claims, as
  amended, overcome the rejections under 35 U.S.C. §§ 101 and 112, ¶¶ 1 & 2.
             34.   In regard to the rejections under 35 U.S.C. § 101, the applicant noted in its response
  to the patent examiner’s rejection that the rejected claims were amended “to make clearer that

  [those claims] recite apparatus (that includes a core server and can further include a node server
  and/or client) and therefor recite statutory subject matter.
             35.   In regard to the rejections under 35 U.S.C. § 112, ¶ 1, the applicant noted in its
  response to the patent examiner’s rejection that “the description throughout [the] specification of
  the functions performed by the receiver and transmitter recited in [the] claims...inherently disclose
  [those features] and, consequently, the receiver and transmitter recited in [those claims] meet the
  requirements of the first paragraph of 35 U.S.C. § 112. In regard to the rejections under 35 U.S.C.

  § 112, ¶ 2, the applicant noted in its response to the patent examiner’s rejection that the claims
  were amended “to make clearer that [the claims] recite apparatus: those claims now include
  recitations that the apparatus include a core server and can further include a node server and/or
  client.”
             36.   The United States Patent and Trademark Office patent examiner, after receiving
  supervisor approval, issued a notice of allowance on August 24, 2009, and the USPTO issued the
  ’375 patent on January 19, 2010.


             2. Overview of the Unconventional ‘376 Patented Inventions and the Conventional
             Technology at the Time.



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          37.     Plaintiff refers to and incorporates the allegations in the above paragraphs as if set
  forth fully herein.
          38.     At the time of the ‘376 inventions reflected in the issued claims (the “patented
  inventions”), the main method of video content distribution was through the television.
  Distribution of video content online was very limited and suffered from many issues, including
  limitations due to bandwidth and feature set. ‘376/1:57-66. In either of the television or online
  distribution systems, the content was provided via a broadcast model wherein the content provider
  would transmit the content to any user or client that was connected to the content provider. In the
  conventional television broadcast model, any content was only required to be sent a single time,
  and all clients (e.g., receivers) would receive the content at the same time. However, where the

  clients interacted in a staggered fashion (i.e., connected at differing times to request the same
  content), the asynchronous nature of such content delivery reduces the content provider’s ability
  to consistently operate within its resource limits. The best method of providing an asynchronous
  or on-demand viewing experience at the time was through video tapes (e.g., VHS), CDs, and/or
  DVDs.
          39.     Notably, distribution of content online differed from television distribution in this
  way, including that the number of users or clients connecting to the content provider could vary

  much more quickly, including that the times the users or clients may connect were not limited to
  the specific times that content was set to be provisioned as in the television systems. An example
  of conventional architecture, where a user or client connected to the content provider, is
  exemplified in the figures of U.S. Patent No. 6,505,240 to Blumenau (“Blumenau”) cited in the
  specification of the ‘376 Patent:




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  Blumenau at Fig. 2; see also Blumenau at Figs. 1 & 3; 4:31-6:57.


         40.     Provision of content over a network, including provision of video content to
  multiple clients, if done at all, was typically a slow, arduous, and unpredictable process which
  could be cumbersome and time consuming, if at all possible, including because each client that
  connected to the content provider resulted in additional bandwidth usage as the full content of the
  web site, including any high-bandwidth content (e.g., video content, 3D images, etc.), was
  transferred at the time the client first connected. ’376/3:65-4:2 & 4:13-20. Neither the content
  provider nor the client could choose the time the content was transferred other than by choosing
  when the client connected to the content provider. Further, neither the content provider, nor the
  client, could choose specific content to be transferred, but, rather, all of the content on the web site
  was transferred upon the client connecting to the content provider. Including because of the



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  foregoing, it was particularly difficult for content providers to manage the provision of content to
  large numbers of clients or the provision of multiple pieces of video content. Moreover, it was
  especially difficult, if not impossible, for content providers to manage the provision of multiple
  pieces of video content to large numbers of clients. In some situations, such as accessing websites
  between countries, these limitations simply made provisioning high-bandwidth content
  impossible.
         41.     In such cases, the content provider would be limited by the resources available to
  it, including, inter alia, the bandwidth of the network between the content provider and client and
  the hardware and software of the content provider’s server that is managing the provisioning of
  content. ’376/1:57-66; 3:65-4:2; & 4:13-20. Further, as the data size of the content increased, these

  limitations would become limiting, resulting in exponential degradations in, inter alia, transfer
  speeds and increasing the likelihood of the content provider’s hardware and/or software crashing
  or otherwise ceasing to transfer data to any number of clients. ’376/1:57-66; 3:65-4:2; & 4:13-20.
  Thus, content providers were required to limit the number of videos, and/or the data size of each
  video, in order to operate within these limitations and attempt to ensure reliability of the transfers
  to clients and scalability of systems. ’376/1:57-66.
         42.     Generally, conventional video content distribution systems were developed as

  similar broadcast models based on the television distribution systems, including seeking to
  distribute advertisements as interstitial breaks in online video content. However, while systems
  existed which permitted the provision of content over a network, those systems were limited by
  the bandwidth available to the networks used. ’376/1:28-29. Specifically, where the content being
  transmitted was high-bandwidth content (i.e., content requiring large data transmission rates
  relative to the network bandwidth capabilities), these systems struggled to provide consistent user-
  experiences, if at all. ’376/1:28-2:4. One such type of high-bandwidth content was, and continues
  to be, video content. ’376/1:30-39. Video content is typically data intensive, and higher quality
  videos comprise more data and, thus, require more bandwidth. ’376/1:57-59.




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         43.     At the time of the ’376 patented inventions, provision of video content was very
  limited, and existing systems were unable to deliver full video streams to large audiences.
  ‘376/1:59-63. Rather, in conventional systems, any video content delivered was limited to very
  low resolutions, very short length clips, and very low frame rates in order to reduce the data
  requirements of the video so that the bandwidth limitations could be met. ’376/1:63-2:2. Further,
  even where conventional systems were able to provide these reduced data size videos, the delivery
  of these videos was not customizable to, or selectable by, the user. ’376/2:2-4. Instead, the videos
  were made a static part of the web site to be transmitted to every user or client that accessed the
  web site, and neither the time of delivery nor content delivered could be altered. ’376/2:2-4.
         44.     At the time of the ’376 patented inventions, the most common, conventional, and

  practical way to provision content to multiple clients was simply to reduce the amount of content
  to provision by limiting what is shown on a single page, including by creating hierarchies of links
  to section off content into multiple areas, requiring users to cumbersomely navigate the content
  provider’s web site, often resulting in having to wait for web pages to reload again and again as
  they browsed through the link hierarchy. Further, at the time of the ‘376 patented inventions, the
  most common, conventional, and practical way for clients to choose when any content was
  transferred was to either specifically time when they connected to the content provider or to

  determine a way to copy the content to the client device for viewing later – the latter often
  involving its own issues such as copyright infringement or broken content due to the way the web
  site was programmed and was often limited by the resources of the client devices, which typically
  included much less storage space than the servers of content providers. At best, conventional
  systems would only distribute portions of the video while the connection was reliable, which were
  almost always unviewable without the remaining portion of the video. The claimed inventions of
  the ‘376 Patent improve the functionality, efficiency, and reliability of network content distribution
  systems as described herein, including by eliminating the need for the content provider to heavily
  invest in infrastructure, hardware, software, and/or other resources, including by providing for the




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  use of a distributed system of third-party-owned node servers, including as described in the ‘376
  Patent.
            45.   The “SUMMARY” section of the ’376 Patent states, in part, as follows:

                  In accordance with the invention, the distribution of content (in
                  particular, data intensive content such as video content) by a content
                  provider over a network (e.g., a computer network such as the
                  Internet, a television network) is facilitated by making use of
                  network site(s) throughout the network to dispense some part or all
                  of the content on behalf of the content provider to network site(s)
                  that desire to receive the content. In particular, the invention can be
                  used to facilitate the distribution of content over a network by
                  recruiting network site(s) to act as volunteer server(s) for dispensing
                  content on behalf of the content provider. The invention can be used,
                  for example, to facilitate the distribution of a single set of high-
                  bandwidth content, e.g., facilitate distribution of video content over
                  the Internet. The invention can also be used, for example, to
                  facilitate the distribution of multiple sets of content at the same time,
                  e.g., facilitate distribution of customized content to different content
                  users.
  ’376/2:8-24.

            46.   The ’376 claimed inventions have advantages over conventional systems and

  methods, including that they allow multiple pieces of content to be distributed to numerous client
  devices asynchronously and/or on-demand, including via the use of a distributed system of devices
  containing the specified content. ’376/3:23-4:33. In some embodiments, this includes the use of

  distributed node servers owned by third parties separate from the owner of the core server (i.e., the
  content provider) such that the node servers are more closely located to client devices. ’376/3:23-
  4:33. To the contrary, conventional systems were operated under the assumption that a pure server
  client system was feasible. However, as noted herein, these systems failed to scale with larger
  numbers of clients, especially when delivering high-bandwidth content. An updated infrastructure
  and architecture was needed, and the ’376 patented invention provides such systems and methods
  which solve these problems.




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         47.     Including as of the priority date of the Patent-in-Suit, there have been various, albeit
  vastly inferior, means outside of the claimed invention for achieving the ends of provisioning of
  high-bandwidth content over a network, including on the Internet. Including as noted herein, at the
  time of the ‘376 patented inventions, conventional approaches to delivering content in a scalable
  and reliable way to multiple clients were limited. Conventional approaches sought to solve the
  ongoing problem of limited resources, including bandwidth and hardware and/or software, which
  limited a content provider’s ability to provide high-bandwidth content, including video content at
  longer lengths, higher frame rates, and/or higher resolutions, and provide content asynchronously
  and/or on-demand to large numbers of client devices. ’376/1:28-2:4. These approaches included
  local clustering of servers in a single location; deploying clusters in a few locations and synching

  or mirroring the clusters; and/or using multiple internet service providers (“ISPs”) to connect to
  the Internet (referred to as “multihoming”). ’376/1:40-56. While each of these approaches address
  some parts of the noted limitations, they also introduce additional limitations, including additional
  requirements in order to provide necessary excess capacity.
         48.     The use of clustering required the content provider to pre-determine the amount of
  traffic it would expect and provide a sufficient number of servers to handle that load (which can
  be an order of magnitude above average loads). Further, the average bandwidth required to handle

  a traffic load is typically not an amount close to the maximum bandwidth that would be required
  at any given time. This, in turn, required heavy investment by the content provider as the amount
  or scale of the servers increases, meaning the content provider was required to pay for additional
  hardware and/or software as well as the maintenance costs therefor. Notably, at the time, the
  convention was not to have idle bandwidth available because the enormous expense of bandwidth
  meant such idle bandwidth was money wasted.
         49.     Where clusters were used with mirroring, not only are these same issues present,
  but additional issues of maintaining a reliable mirror so that each cluster is identical become
  exponentially apparent. In other words, to provide a consistent web experience to users, the content
  provider was required to constantly monitor the remote clusters to ensure any changes made at the


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  main server were properly and reliably propagated. Additionally, even with the use of remote,
  mirrored clusters, each of these clusters would still be required to be able to handle the full
  expected traffic load.
          50.     For the multihoming approach, while this would potentially increase bandwidth
  available by providing more physical links between the content provider and client devices, there
  was no guarantee which of the links was used nor that, if any of the links, or connections thereon,
  became overwhelmed, clients would be redirected to a different, less congested link, if at all.
  Regardless of the amount of links, any given connection between the content provider and a client
  device would still be subject to limitations of that specific connection. As a result, although the
  content provider may have multiple links, each link, and each connection thereon, would still need

  to be able to carry the entire expected traffic load.
          51.     Thus, in each of these approaches, the content provider would be subjected to a
  considerable cost, which was often over double the average initial infrastructure expense and
  ongoing operation costs. These approaches also required the content provider to make wild
  predictions about its initial and future traffic in order to properly scale. As a result, only the larger
  content providers were able to even attempt to implement these approaches, meaning the vast
  majority of content providers simply did not do so.

          52.     A distributed, scalable third-party-owned node server-based systems, including the
  inventions described in the ’376 Patent, avoids and/or addresses these issues by providing a means
  for the content provider to distribute and scale its system. The content provider’s system is
  distributed by using already-existing servers owned by third parties which could be incentivized
  to permit the content provider to employ these third parties’ resources (e.g., network bandwidth
  and server hardware and/or software) for less cost, while offloading the investment and
  maintenance costs to those third parties. ’376/7:12-34; 10:17-53; 11:1-19; 14:61-15:9; & 22:13-
  20. The content provider’s system is scalable via the ability to easily add additional incentivized
  node servers to the network to aid in distributing the content, including that each client that has
  obtained specified content may then be used as an additional node server for provision of that same


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  content to additional clients. ’376/19:66-20:63.
          53. Prior art methods for provisioning content over the Internet were likewise inferior.
  Including as noted herein, back at the time of claimed inventions, distribution of content over
  networks, including the Internet, were almost entirely via a pure server-client architecture with the
  central or “core” server handling all communications with any client devices, including as
  exemplified by the Kenner patent and ancillary prior art addressed extensively during prosecution
  of the ’376 Patent. As noted by the inventor during prosecution, the client devices of Kenner (i.e.,
  user terminal) communicated only with the server (i.e., PIM) and the server never communicated
  an identity of any other entity (i.e., DSI) so that the client could request the transmission of the
  specified content from that other entity rather than the server. The claimed inventions improve and

  build on this, including because, as noted by the inventor during prosecution, the claimed invention
  comprises an architecture that provides advantages over these prior art systems, including by
  permitting client devices to be served by node servers with better and/or more available resources
  and/or that are more closely located to the client. According to the inventor, this architecture results
  in, inter alia, a vastly improved functionality, efficiency, and reliability of content distribution.
          54.     Further limitations on network and Internet availability existed at the time, where
  broadband was in its infancy, and certainly not widespread, with the vast majority of Internet

  connectivity being achieved through slow, unreliable dial-up networking over phone lines,
  meaning most Internet users were unable to simply leave a device connected without losing the
  availability of a phone line. Thus, the expectations of one’s network services being available to a
  computer at the time were often insufficient to reliably support continuous connectivity and high
  bandwidth network activity. Similarly, for mobile devices, mobile data and internet connectivity
  were not as ubiquitous as they are today, and certainly much less able to provide continuous
  connectivity to permit a user to wait bandwidth to be available. At that time, a user would be
  motivated to minimize mobile data usage because of high cost and limited bandwidth. Thus,
  Internet users, both at home and mobile users, sought website that were quick and easy to load and
  which provided the user with the best desired content without using a lot of bandwidth. As a result,


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  including as noted, it was conventional to provide low data content that was statically delivered
  from a central core server, including by reducing the quality of content to reduce data size and
  creating hierarchical links so that specific content could be delivered independent of other content,
  rather than across a distributed third-party-owned node server architecture. ’376/1:57-2:2.
         55.      As a result, as noted herein, for those conventional systems, which only provided
  reduced quality content, these resource limitations were less problematic due to the reduced
  resources necessary to store and deliver the content to client devices. Even for those limited
  number of conventional systems which employed conventional approaches to addressing these
  resource limitations, these conventional systems did not fully alleviate the limitations and, in fact,
  introduced additional limitations which otherwise reduced scalability and reliability of the delivery

  of content to client devices. Thus, due to these limitations, the convention for the provision of
  content over networks was, at best, to either cause the data to be so small that it was of poor quality
  or brute-force the content by throwing costly bandwidth, hardware, and software at the problem.
  The ’376 patented inventions are unconventional in this regard because they went against the
  conventional method of creating a self-owned ecosystem of bandwidth, hardware, and software to
  attempt to permit the delivery of high-bandwidth content to multiple clients asynchronously and/or
  on-demand, and, instead, provides a method of employing already-existing node servers owned by

  third-parties which provide specified content to only a subgroup of client devices, thus allowing
  the core server to act as a traffic director, redirecting client devices to a more local node server
  with its own bandwidth, hardware, and software used to deliver the content to a client device at
  the specific time the client device requests the content. ‘376/4:8-24; 5:39-44; 12:48-54; 13:63-67;
  19:23-33; 19:48-65; 21:4-43; & 23:1-24:40.
         56.     Conventional systems had limited ability, if any, to deliver specified content to
  client devices asynchronously and/or on-demand. ‘376/2:2-4; 3:61-4:33. Including as noted herein,
  the provision of statically available content meant that client devices were simply provisioned all
  of the content that was on a website upon connecting to the website. This, in turn, meant that, for
  users to ensure they were able to view the specific content they wanted to view, they would have


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  to wait for the entire website to load to see if that specific content loaded as well. Due to limitations
  at the time, most content was unviewable until the entirety of the content was received, or, if the
  portion was viewable, the user was left with only a portion of the content. As a result, the content
  provider’s server would be forced to use the same amount of bandwidth for each client device and
  for the full amount of time the client device was connected, until the full website was delivered to
  the client device. Specifically, conventional systems had limited ability, if any, to easily and
  seamlessly permit client devices to pick and choose what content they were delivered. At best,
  conventional systems limited the content delivered by requiring users cumbersomely click through
  a series of links until they reached a webpage that only transferred the specific content they sought.
  As a result, while this, at least partially, addressed the on-demand nature of content delivery, this

  necessarily increased the time the client device was required to remain connected and increased
  the bandwidth and other resource usage of the content provider because the client device was
  required to access many more webpages, each of which would be required to be delivered to the
  client device so that the user could navigate to the proper link.
          57.     With the unreliable Internet of many client devices, conventional systems were
  cumbersome, burdensome, and hard to use, including because, while a user was waiting for the
  specified content to be delivered with the entire website, the connection may fail, requiring the

  user to have to refresh the page and start over. This would, in turn, further unnecessarily increase
  the bandwidth and other resource usage of the content provider. Similarly, if the content provider’s
  resource limits were reached, the system may crash and/or restart, meaning each of the connected
  client devices would then attempt to reconnect, and continue crashing the system or, at a minimum,
  further increase the bandwidth and other resource usage of the content provider. For those systems
  with hierarchical links, these connectivity issues were, at best, partially alleviated, as the client
  device was still required to remain connected to the content provider while browsing the link
  hierarchy and until the specified content was fully delivered.
          58.     However, by using the network-based methods and systems described in the ‘376
  Patent, these resource limitations could be offloaded onto a number of node servers, increasing


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  both the reliability of the system, as well as the number of concurrent client devices that could
  connect and access specific content. In this way, the connected time for any individual server and
  network was reduced, thus reducing the resource usage of that server and network. This is due to
  the innovative node-server based operation of the ‘376 patented inventions. ‘376/Figs. 1 & 2; 3:23-
  4:33; 5:5-21; 7:12-8:16; 10:17-23; & 13:37-62. System 100 provides an exemplary illustration of
  the foregoing architecture, including core server 101, node servers 102, and clients 103. ‘376/Fig.
  1; 5:5-21; 7:12-8:16; 10:17-23; & 13:37-62.
         59.     Among other things, the inventor of the Patent-in-Suit wanted to deliver high-
  bandwidth content over a network, such as the Internet, in a reliable and scalable way such that
  any number of client devices would be able to access specified content offered by the content

  provider while reducing, or eliminating, issues related to limitations on bandwidth and other
  resources, including those noted herein. As noted in the specification, “[a]n ongoing problem for
  content delivery networks is the delivery of high-bandwidth content in a satisfactory manner[, and]
  delivering full video streams to large audiences (or similar network) so far has been impossible[,
  where e]xisting systems for delivery of video streams over the Internet suffer from undesirable
  limitations.” ’376/1:28-29 & 1:59-63. As further noted in the specification, while some distribution
  does occur, that content is of low quality, including limited pixel resolutions, short lengths, small

  frame sizes, and/or low frame rates, and “those Web sites have not delivered customized content
  (in terms of either the time of delivery—i.e., video on demand—or the actual content delivered.”
  ’376/1:63-2:4. Thus, according to the specification, a system was needed “to facilitate the
  distribution of content over a network” as, inter alia, “a single set of high-bandwidth content” or
  “multiple sets of content at the same time.” ’376/2:8-24; see also ‘376/3:23-4:33. However,
  including as noted herein, existing technology offered only unacceptably inferior solutions of
  provisioning such content to users via the Internet.
         60.     In one embodiment, the ‘376 patented inventions comprise core server 101 in
  communication with each node server 102 and each client 103, all of which are interconnected to




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  form a network via physical (topological) connections, for example, such as the exemplary system
  shown in Figure 1 of the ‘376 Patent:




  ‘376/ Fig. 1; see also 5:5-21; 7:12-8:16; 10:17-23; 10:38-67; & 13:37-62.


          61.     Core server 101 comprises a network site that is controlled (at least in part) by an

  entity (e.g., a content provider) desiring to distribute content to clients 103 for use on the clients
  103. ‘376/3:33-42; 7:12-45. Any or all of these devices may be embodied by any hardware
  compatible with the network, such as a stationary computer (e.g., desktop, workstation, etc.),
  portable computers (e.g., laptop, handheld, personal digital assistant, etc.), portable telephone (e.g.,
  cellular phone, etc.), and television. ’376/7:14-28; 7:46-8:16; 10:38-67; 13:29-62. Further, core
  server 101 may comprise a single server or a combination of servers working in tandem, including
  any combination of hardware, software, and/or firmware. ’376/5:17-21; 7:46-67.




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         62.     Core server 101 communicates with node servers 102, wherein node servers 102
  comprise network sites that are not part of core server 101 and serve as an “army” enlisted by core
  server 101 to aid in distributing content to clients 103. ‘376/10:17-23. Further, node servers 102
  may comprise server systems owned by entities other than the content provider, as well as personal
  computers of individuals or families. ‘376/10:38-11:38. Node servers 102 may further comprise a
  hierarchy of primary node servers and secondary node servers, wherein the hierarchy additionally
  assists in distributing the load amongst the clients. ‘376/12:16-47; 20:15-40. Because the
  distribution of high-bandwidth content by a content provider would necessarily overwhelm the
  limited resources of a more centralized server architecture, especially when inundated with
  communication from a large number of users, the multiple servers set up, including various role

  specific sub-servers, would further assist in handling such large amounts of communication,
  including over the minimal bandwidth at the time. ’376/1:49-56; 2:8-24; 3:61-4:33; 10:24-37;
  10:54-58; 13:15-36; 18:24-27; 19:19-22.
         63. Including as described in the ’376 Patent, in order to implement the unconventional
  architecture of the ’376 patented invention, exemplary method 200 is provided, which details the
  various steps of communications, instructions, and requirements between core server 101, node
  servers 102, and clients 103. ‘376/Fig. 2; 5:22-7:11; 23:1-24:40. The steps are performed in a

  relative order, including as shown in Figure 2 of the ’376 Patent.




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  Exhibit A, ’376 patent, Fig 2; see also ’376/5:22-7:11 & 23:1-24:40.
           64.   At step 201, any one of clients 103 communicate with core server 101 to request
  the identities of any node servers 102 that contain specific content that the user wishes to view,
  such as a list of movies available. ’376/Fig. 2; 5:30-37; 8:47-50; 13:63-14:10; 17:49-52; & 23:1-
  24:40.


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         65.     At step 202, any of connected clients 103 request content sought by the user.
  ’376/Fig. 2; 5:38-39; & 13:63-14:10; & 23:1-24:40. Additionally, when client 103 requests the
  specified content, client 103 may also provide information regarding a specific time that client 103
  wishes to receive the content. ’376/Fig. 2; 5:39-44; 12:48-54; 13:63-67; 19:23-33; 19:48-65; 21:4-
  43; & 23:1-24:40.
         66.     At step 203, core server 101 identifies various node servers 102 containing the
  specified content. ’376/Fig. 2; 5:45-51; 9:13-19; 16:58-64; 14:18-25; 17:49-67; & 23:1-24:40. As
  part of the determination of relevant node servers 102, core server 101 may consider certain aspects
  of node servers 102, including network topology, available resources, and/or proximity of each
  potential node server 102 in relation to client 103. ’376/Fig. 2; 5:51-64; 16:4-17:38; 18:1-39; &

  23:1-24:40. These characteristics may be stored in a database located on core server 101. ’376/Fig.
  2; 5:51-57; 6:11-14; 9:1-19; 16:4-17:38; & 23:1-24:40. Further, by considering these
  characteristics of potential node servers 102, certain advantages of the patented invention are
  apparent, including that delivery of content from node servers 102 more proximately located to
  client 103 may avoid bottlenecks in the network and reduce the costs of transmitting the content.
  ’376/5:64-6:11; 19:34- 47; & 23:1-24:40.
         67.     At step 204, after determining the identity of viable node servers 102, core server

  101 communicates with client 103 to transfer the identity, for example, the network address or IP
  address, of the chosen node servers 102. Exhibit A, ’376 patent, Fig. 2; 6:15-18; 7:1-11; 7:49-52;
  8:50-57; 14:18-25; 17:50-54; & 23:1-24:40.
         68.     At step 205, client 103 determines which of the identified node server 102 from
  which to obtain the specified content, including by considering topological and other
  characteristics of node servers 102. Exhibit A, ’376 patent, Fig. 2; 6:19-29; 14:18-25; 18:54-20:14;
  & 23:1-24:40. Notably, this step may be combined with step 204 so that only core server 101
  makes the determination and identification of node server 102. Exhibit A, ’376 patent, Col. 7:6-9;
  8:60-67; & 23:1-24:40.




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         69.     At step 206, client 103 initiates a connection to selected node server 102 and
  requests node server 102 begin transmitting the specified content. Exhibit A, ’376 patent, Fig. 2;
  6:30-35; 7:1-11; 14:61-64; 20:64-66; & 23:1-24:40. The request from client 103 may include the
  identification of the specified content, as well as a specific time client 103 wishes to receive the
  content, whether immediately or at a future time. Exhibit A, Patent ’376, Fig. 2; 5:39-44; 6:30-35;
  12:48-54; 13:63-67; 19:23-33; 19:48-65; 21:4-43; & 23:1-24:40. Further, if step 204 and step 205
  are combined, step 206 may be modified so that core server 101, rather than client 103, contacts
  node server 102 to instruct node server 102 as to the content sought and any scheduled time.
  ‘376/Fig. 2; 7:9-11.
         70.     At step 207, selected node server 102 begins transmitting the content to client 103

  if the user has chosen to have the content received immediately. ‘376/Fig. 2; 6:36-51; 12:48-54;
  21:4-8; 21:23-26; & 23:1-24:40. Otherwise, if the user has chosen to receive the content at a future
  time, node server 102 delays transmission until both client 103 is connected and the scheduled
  time occurs. ‘376/Fig. 2; 6:34-51; 12:64-13:14; 20:64-21:58; & 23:1-24:40. Additionally, in the
  event node server 102 no longer stores the content at the time the delivery is scheduled, node server
  102 may direct client 103 to another known node server 102 that does have the content. ‘376/Fig.
  2; 6:45-51 & 23:1-24:40. Node server 102 may also redirect client 103 if node server 102

  determines a more efficient node server 102 exists, such as by considering the noted characteristics
  above. Exhibit A, ’376 patent, Fig. 2; 6:45-51; 18:58-65; 19:34-39; 20:27-40; & 23:1-24:40.
         71.     At step 208, after the scheduled time has passed, client 103 contacts core server 101
  to notify core server 101 as to whether client 103 did or did not receive the content as scheduled.
  ’376/Fig. 2; 6:52-55; 9:19-43; & 23:1-24:40. This may further include information regarding the
  speed and length of transmission or other characteristics of the transmission, such as bandwidth
  and/or latency performance. ’376/Fig. 2; 6:55-65; 15:17-24; & 23:1-24:40. Alternatively, or in
  addition, this information may be communicated to core server 101 by node server 102. ‘376/Fig.
  2; 6:65-67; 21:59-22:12; & 23:1-24:40. This information is then used by core server 101 to
  determine whether the transfer was successful, and, if so, whether the owner of node server 102 is


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  to receive the chosen incentive for a transfer. Exhibit A, ’376 patents, Fig. 2; 4:34-47; 9:19-43;
  10:3-16; 10:54-67; 13:10-14; & 22:13-24:40.
         72.     The claimed inventions of the ‘376 Patent have advantages over conventional
  systems, including, inter alia, that they allow a user to more reliably request and view specified
  content from the content provider via the use of the distributed node server architecture. Exhibit
  A, ’376 patent, Figs. 1 & 2; 3:23-4:33; 5:5-21; 7:12-8:16; 10:17-23; & 13:37-62. Advantageously,
  by providing node servers 102 as the intermediary between clients 103 and core server 101, node
  servers 102 act as a carrier of the data from users to the content provider and vice versa. ‘376/10:17-
  37. This, in turn, requires the unconventional use of distributed third-party-owned node servers
  102, including the managing of information related to the capabilities of each node server 102, the

  content stored therein and its availability. ’376/11:56-13:36. Furthermore, where the network
  connection between a client 103 and core server 101 is potentially somewhat unreliable and lower
  bandwidth say over a wireless network, the redirection of client 103 to a more reliable and
  proximately located node server 102 represents an architectural improvement over conventional,
  pure server-client systems. In this way, the bandwidth-heavy communications overhead of
  transmitting high-bandwidth content is performed on a far more reliable network, resulting in
  much less likelihood a user would get logged off prior to the completed transfer or the connection

  failing, and, furthermore, a diminished amount of traffic occurs on core server 101, effectively
  permitting more clients 103 to reliably access specified content. Exhibit A, ’376/1:49-56; 2:8-24;
  3:61-4:33; 10:24-37; 10:54-58; 13:15-36; 18:24-27; 19:19-22; & 19:66-20:63. Thus, the patented
  tiered-based server system results in a smoother, more reliable, and better user experience.
         73.     Including as noted above, the specification of the ’376 Patent teaches specifically
  how the technological improvement of the network content distribution systems and methods of
  the ’376 Patent is achieved. Among other innovations, the inventions are able to provide to means
  for the content provider’s system (for example, core server 101), to communicate with a user’s
  device (for example, client 103) and determine what content the user is requesting (for example,
  step 202); determine an available third-party server (for example, node server 102) to identify


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  which of these third-party servers contains the content sought by the user (for example, step 203);
  send said identity of the third-party server to the user’s device (for example, step 204) so that the
  user’s device can contact and connect to the best third-party servers identified by the content
  provider (for example, step 205) and request the specified content (for example, step 206); and
  communicate with the user’s device and chosen third-party servers to determine that the third-
  party servers transmitted the content to the user’s device (for example, step 207) and that the user’s
  device successfully received the content (for example, step 208). Thus, the invention details how
  the improved network content distribution systems and methods can be realized and how its
  functionality can be accomplished. The claims of the ’376 patent recite how to implement these
  improved network content distribution systems and methods. Furthermore, the claims require a

  non-conventional and non-generic method in order to allow for the system to distribute the
  specified content via the use of distributed third-party node servers. Thus, the claimed inventions
  of the ’376 Patent describe an application specific order of steps for use in a system that is not a
  generic or conventional arrangement.
         74.     These claimed limitations disclose a particular architecture and way in which the
  provisioning of specified high-bandwidth content over the Internet can be accomplished from a
  core server to a client via the use of an intermediary node server which receives an incentive as

  compensation for storing the content and transmitting the content to any client that requests it,
  rather than requiring the core server to transfer the content to the client, including the specific way
  the negotiation and communication between the core server, node servers, and client is
  accomplished, including to provide a distributed network of third-party-owned node servers
  providing a more reliable and scalable system and providing a better user experience, including by
  permitting asynchronous and/or on-demand viewing at the client device – as opposed to using
  conventional systems and methods to provision content over a network, such as those described in
  the ’376 Patent and herein. An example of such architecture and functionality is as shown in Figure
  1 of the ’376 Patent:




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  ’376/Fig. 1; see also 5:5-21; 7:12-8:16; 10:17-23; 10:38-67; & 13:37-62.
         75.     On the other hand, including as noted herein, the convention at the time of the ’376
  patented inventions was to implement one of the three approaches noted above, each of which
  simply resulted in additional issues being created. This was due to, at least in part, for example,
  conventional content providers seeking to invest resources in systems which they entirely owned
  and managed, often looking to the existing television broadcast-based systems or guidance and/or

  inspiration. Additionally, conventional content providers sought to avoid the hassle of having to
  depend on third parties to cache copies of content on the third parties’ devices. Including as noted,
  this resulted in users having unreliable access to content and often resulted in the systems of the
  content providers crashing or otherwise becoming inoperable.
         76.     Another unconventional and inventive aspect of the claimed inventions of the ’376
  Patent includes the use of the node servers to deliver content at times other than when the client is
  connected to the core server. Exhibit A, ’376 patent, Col. 5:38-44; 12:37-13:14; 21:4-43; & 23:1-
  24:40. In other words, the use of node servers permits client devices to request and view specified



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  content at a time the user selects. ’376/5:38-44; 12:37-13:14; 21:4-43; & 23:1-24:40. Thus,
  advantageously, the client device is given the identity of a node server or node servers which
  contain the specific content sought by the user, so that the client device need only connect to the
  node server or servers to retrieve the content, and the core server is only contacted again during
  the transfer verification step. In this way, the core server usage is reduced, and, as a result, the use
  of the content provider’s resources is likewise reduced.
          77.     In turn, this use of node servers for selective delivery, inter alia, allows
  asynchronous and/or on-demand distribution of the content, regardless of the status of the content
  provider’s bandwidth usage and availability, resulting in users being able to view the specified
  content even when the core server is otherwise inoperable or unreachable. At the time of the ’376

  patented inventions, the convention was, including as noted herein, to provide such asynchronous
  or on-demand experience via physical media that the user was required to locate, such as VHS,
  CDs, and/or DVDs.
  B. The Claims Of The ‘376 Patent Are Directed To Patentable Subject Matter
          78.     Plaintiff refers to and incorporates the allegations in the above paragraphs as if set
  forth fully herein.
          79. Including as set forth herein, the claims of the ’376 Patent are directed to patentable

  subject matter. The claims of the Patent-in-Suit, including the asserted claims, when viewed as a
  whole, including as an ordered combination, are not merely the recitation of well-understood,
  routine, or conventional technologies or components. The claimed inventions were not well-
  known, routine, or conventional at the time of the invention, over ten years ago, and represent
  specific improvements over the prior art and prior existing systems and methods.
          1. The ‘376 Patent is not Directed to an Abstract Idea
          80.     The claims of the ’376 Patent neither describe nor claim a concept nor a generic
  method or computerized system. Instead, the ’376 claims address, among other things, a persistent
  problem with systems for provisioning content over a network at the time of the invention at the
  time of the invention whereby delivery of content, including high-bandwidth content, to large


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  numbers of client devices asynchronously and/or on-demand in a scalable and reliable manner was
  unavailable and/or impossible (for example, bandwidth and resource limitations made the ability
  of a content provider to deliver high-bandwidth content); impractical (for example, requiring
  content providers to guess traffic loads and requiring large initial investment to meet these loads
  and/or requiring client devices remain connected for lengthy periods of time using unreliable
  connections); cumbersome (for example, requiring users browse clunky, confusing hierarchical
  link systems to find specific content they wish to view); and/or prone to errors (for example, the
  limited resources made it difficult to deliver content to large numbers of client devices without
  resulting in system crashes or other errors upon reaching said limits). The ’376 patented inventions
  enable a substantial improvement in content delivery systems, including their functionality and

  utility.
             81.   Prior to the ’376 patented inventions, content that was delivered was typically of
  low quality in order to reduce data size and, thus, reduce usage of limited bandwidth and other
  resources. Exhibit A, ’376 patent, Col. 1:61-2:2. Such reduced quality video provided a poor user
  experience, as many videos were very short, low resolution, and/or low frame rate, often resulting
  in a blurry, unwatchable short clip. Exhibit A, ’376 patent, Col. 1:61-2:2. Additionally, and as
  described herein, this reduced quality

  content was statically provided, meaning the content was delivered to the client device regardless
  of whether the user wished to view the content, meaning resources were unnecessarily used in the
  transfer. Exhibit A, ’376 patent, Col. 2:2-4; 4:13-27.
             82.   Prior to the claimed inventions, conventional systems required substantial resources
  on the server side of the content provider in order to operate reliably. Further, including as noted
  herein, the convention at the time was to use only a system wholly owned, distributed, and
  maintained by the content provider comprising, at best, fully-mirrored server clusters distributed
  remotely from the central server due to not only limited computing (e.g., memory and processing
  power) and network (e.g., bandwidth) resources, but also because, as noted above, one could not
  be certain that any specific website would contain the specific content sought by the user. Thus,


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  attempts to meet resource requirements meant heavy investment in computing power and
  bandwidth, each of which was a very expensive proposition at the time. It was far less expensive
  resource-wise to handle the amount of communications and meet bandwidth requirements by use
  of distributed servers, especially where those servers were owned by third parties and required the
  content provider only pay when transfers actually occurred. The specific claimed inventions of the
  ’376 Patent disclose unconventional systems and methods which solve these limitations, including,
  without limitation, by providing a centralized core server owned by the content provider capable
  of handling all inbound and outbound connections from client devices requesting content and
  redirecting them to remotely-located third-party-owned node servers required to be capable of
  handling only a subset of all inbound and outbound client device connections.

         83. These claimed limitations disclose a particular architecture and way in which the
  provisioning of specified high-bandwidth content over the Internet can be accomplished from a
  core server to a client via the use of an intermediary node server which receives an incentive as
  compensation for storing the content and transmitting the content to any client that requests it,
  rather than requiring the core server to transfer the content to the client, including the specific way
  the negotiation and communication between the core server, node servers, and client is
  accomplished, including to provide a distributed network of third-party-owned node servers

  providing a more reliable and scalable system and providing a better user experience, including by
  permitting asynchronous and/or on-demand viewing at the client device – as opposed to using
  conventional systems and methods to provision content over a network, such as those described in
  the ‘376 Patent and herein. Exhibit A, ’376 patent, Figures. 1 & 2; 3:23-4:33; 5:5-21; 7:12-8:16;
  10:17-23; & 13:37-62. An example of such architecture and functionality is as shown in Figure 1
  of the ’376 Patent:




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  ’376 patent, Fig. 1; see also 5:5-21; 7:12-8:16; 10:17-23; 10:38-67; & 13:37-62.
  84.    More specifically, the claimed inventions of the ‘376 Patent provide particular methods
  and systems for the provision of content over a network that require, for example, “identifying at
  a core server a network site that will act as a node server for distribution of specified content” and
  “providing from the core server the specified content to the node server,” which specifies the

  specific way that a node server is provided specific content to be delivered to client devices.
  ’376/Claim 57. The particular methods and systems further require “communicating to the client
  the identity of a node server having the specified content store thereon, thereby enabling the client
  to request transmission of the specified content from the node server,” which specifies the
  information exchanged between the devices in order to facilitate the handoff from the core server
  to the node server and facilitate the transfer of content from the node server to the client device.
  ’376/Claims 37 & 57. The particular methods and systems also require “ascertaining that the node
  server transmitted the specified content” and “offer[ing] an incentive as compensation [to an owner
  of the node server] for transmission of the specified content to the client,” which serves as a means


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  of ensuring that the handoff was successful and that the transfer actually occurred, including by
  providing the owner of the node server compensation for retaining the content and/or transferring
  the content to any client device redirected to the node server. ‘376/Claims 37 & 57. Including as
  described herein, these claimed limitations disclose a particular way in which the patented node
  server-based architecture can be implemented, including specific information transmitted between
  each of the devices and a verification of transfer to ensure a reliable user experience – as opposed
  to using conventional methods and systems to deliver content, such as those described in the ’376
  Patent and herein. ’376/Figs. 1 & 2; 3:23-4:33; 5:5-21; 7:12-8:16; 10:17-23; & 13:37-62.

         a.        The Claims of the ’376 Patent are Directed to Innovative Computer- and Network-
                  Based Systems and Methods
  85.    Plaintiff refers to and incorporates the allegations in the above paragraphs as if set forth

  fully herein.
  86.    None of the elements that comprise the claimed apparatuses, systems, computer readable
  media, or methods that are described in the claims of the ‘376 Patent are abstract. Including as
  described herein, and in the ‘376 Patent, the computer readable storage media, client, core server,
  node server, and network interfaces (‘376/Figures 1-2 (and associated description in the
  specification)) are physical and/or tangible things known to a person of ordinary skill in the art

  (“POSITA”) in light of the specification; and in view of the technological solutions and
  unconventionality noted herein. ’376/3:23-60.
  82.    As exemplified by claim 37, the subject claims of the ‘376 Patent are directed to:


                  [Claim] 37. A computer readable storage medium or media encoded with
                  one or more computer programs including instructions for effecting the
                  provision of content over a network, comprising:

                  instructions for receiving a request from a client for specified content;
                  instructions for communicating to the client the identity of a node server
                  having
                  the specified content stored thereon, thereby enabling the client to request
                  transmission of the specified content from the node server; and
                  instructions for ascertaining that the node server transmitted the specified



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                  content to the client, wherein an owner of the node server is offered an
                  incentive as compensation for transmission of the specified content to the
                  client.
  ’376/Claim 37.
  87.    As exemplified by claim 57, the subject claims of the ‘376 Patent are directed to:
         57. A method for effecting the provision of content over a network, comprising the
         steps of:
         identifying at a core server a network site that will act as a node server for
         distribution of specified content;
         providing from the core server the specified content to the node server;
         receiving at the core server a request from a client for the specified content;
         communicating from the core server the identity of the node server to the client
         to enable the client to request transmission of the specified content from the
         node server; and
         ascertaining at the core server that the node server transmitted the specified
         content to the client, wherein an owner of the node server is offered an
         incentive as compensation for transmission of the specified content to the
         client.
  ’376/Claim 57.
  88.    Claims 37 and 57 of the ‘376 Patent, quoted above, are exemplary. A POSITA would
  understand that the language of the ‘376 claims is not directed merely to a method of generically
  or conventionally provisioning content over a network. Rather, it comprises the specific aspects

  noted herein which provided the noted inventive, technological solutions to the problems faced by
  the inventor. Specifically, as noted herein, the claimed inventions provide inventive,
  unconventional, and technological solutions to the conventional problems of provisioning varying
  amounts of content of varying sizes to multiple clients asynchronously and/or on-demand in a
  distributed-server-based system which facilitates the provisioning of content through the.
  distribution of the content from remote node servers which provide the content to clients, thereby
  spreading the load of the provision of content across multiple networks and servers.
         b. The ‘376 Claimed Inventions Could not be Done Manually or in One’s Head
  89.    Plaintiff refers to and incorporates the allegations in the above paragraphs as if set forth
  fully herein.




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  90.    A POSITA would understand that the claimed solutions could not be done manually,
  including because they necessarily require implementation via specialized, or specially
  programmed, computers, including one or more networks, a core server, a node server, and,
  further, including at least communicating the identity of a node server to a client and transmitting
  the selected content from the node server to the client (‘376/Claim 37; Figs. 1 & 2; 1:49-56; 2:8-
  24; 3:23-4:47; 5:5-8:16; 8:47-50; 8:60-67; 9:1-43; 10:3-11:38; 11:56-14:25; 14:61-64; 15:17-24;
  16:4-17:38; 17:49-67; 18:1-39; & 18:54-24:40); and providing specified content to an identified
  node server, communicating the identity of the node server to a client, and transmitting the selected
  content from the node server to the client (‘376/Claim 57; Figs. 1 & 2; Figs. 1 & 2; 1:49-56; 2:8-
  24; 3:23-4:47; 5:5-8:16; 8:47-50; 8:60-67; 9:1-43; 10:3-11:38; 11:56-14:25; 14:61-64; 15:17-24;

  16:4-17:38; 17:49-67; 18:1-39; & 18:54-24:40), nor can they be performed in a person’s head.
  Furthermore, for example, the constant open connectivity required for sending and receiving the
  specified content from the node server at each of the clients is not something that could be done
  manually or in one’s head.


  2. The ‘376 Claimed Inventions Provide Innovative, Unconventional Concepts and
  Technological Solutions


  91.    Plaintiff refers to and incorporates the allegations in the above paragraphs as if set forth
  fully herein.
  92.    In sum, including as noted herein, the claimed technologies of the Patent-in-Suit
  improved, inter alia, prior computer and networking technology, including in connection with,
  among other things:
                  A. Improving and increasing efficiencies of the claimed inventions,
         including over inferior alternative means for achieving the same or similar ends of
         distributing content, including by reducing or eliminating the cumbersome steps of
         previous methods of content transfer over the Internet and providing the ability to
         transfer the specified content at a time chosen by the user where a connection to the


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         Internet may be more readily available. See, e.g., ‘376/Figs. 1 & 2; 3:23-4:33; 5:5-
         21; 7:12-8:16; 10:17-23; & 13:37-62.
                 B. Leveraging the capabilities of already-existing third-party devices,
         including their Internet connection capabilities (including through use of custom
         hardware and/or software), including by shifting the transfer of data from the core
         server to the node servers, to greatly enhance the functionality of content
         distribution systems, including because the node servers, with may be more
         proximately located to the client and have additional resources to the core server,
         may then store the specified content for transfer to the client via the Internet at a
         later time. See, e.g., ’376 patent, Figures. 1 & 2; 1:49-56; 2:8-24; 3:23-4:33; 5:5-

         21; 7:12-8:16; 10:17-37; 10:54-58; 13:15-62; 18:24-27; & 19:19-22.
                 C. Providing an incentive-based system to permit the content provider to
         ensure the specified content was successfully transferred from the node server to
         the client, including by varying the incentive based on the amount of the content
         transferred and the quality thereof. See, e.g., ’376/Fig. 2; 4:34-47; 6:52-67; 9:19-
         43; 10:3-16; 10:54-67; 13:10-14; 15:17-24; & 21:59-24:40.
  93.    The ’376 patented inventions also provide computer and network efficiency at least

  because they allow content provisioning systems to have the useful and improved claimed
  functionality without the need for the content provider to heavily invest in resources, such as
  bandwidth, hardware, and/or extra software and data processing required on the core server. The
  inventor did more than simply apply current technology to an existing problem. The inventions,
  as embodied in the claims of the ‘376 Patent, were a significant advancement in content
  provisioning systems and methods. The inventions covered by the claims of the ‘376 Patent
  comprise utilization of the Internet to create a novel architecture enabling provision of content,
  including high-bandwidth content, by node servers in which a third party has already invested to
  provide resources for quickly, easily, and reliably transferring content to client over the Internet,
  and, more specifically, to what is essentially the backbone of what is referred to today as distributed


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  network “streaming.”
  94.    These noted improvements over the prior art represent meaningful limitations and/or
  inventive concepts based upon the state of the art over two decades ago. Further, including in view
  of these specific improvements, the inventions of the claims of the ‘376 Patent, when such claims
  are viewed as a whole and in ordered combination, are not routine, well-understood, conventional,
  generic, existing, commonly used, well known, previously known, typical, and the like over two
  decades ago, including because, until the inventions of the claims of the Patent-in-Suit, the claimed
  inventions were not existing or even considered in the field, and, in fact, went against the
  conventional methods.
  95.    The claims of the ‘376 Patent, including as a whole and where applicable in ordered

  combination, comprise, inter alia, a non-conventional and non-generic arrangement of
  communications between node servers and client devices that is a technical improvement to the
  communications between the devices and content distribution services, including those
  improvements noted herein.
  96.    The claimed inventions are necessarily rooted in computer technology, i.e., network
  content provisioning technology, and comprise improvements over prior technologies in order to
  overcome the problems, including those noted herein, specifically arising in the realm of computer

  networks. The claimed solutions amount to an inventive concept for resolving the particular
  problems and inefficiencies noted herein, including in connection to provisioning content from a
  content provider to client over the Internet, including as described.
         a. The ‘376 Claimed Inventions Provide Technological Solutions to Technological
         Problems
  97.    Plaintiff refers to and incorporates the allegations in the above paragraphs as if set forth
  fully herein.
  98.    The technical problems addressed by the claimed inventions of ‘376 Patent include the
  delivery of content, including high-bandwidth content, to large numbers of client devices
  asynchronously and/or on-demand in a scalable and reliable manner, which, at the time of the ‘376



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  patented inventions, was difficult, impractical, and/or cumbersome, including because, as noted
  herein, provisioning content over a network at the time was unavailable and/or impossible (for
  example, bandwidth and resource limitations made the ability of a content provider to deliver high
  bandwidth content); impractical (for example, requiring content providers to guess traffic loads
  and requiring large initial investment to meet these loads and/or requiring client devices remain
  connected for lengthy periods of time using unreliable connections); cumbersome (for example,
  requiring users browse clunky, confusing hierarchical link systems to find specific content they
  wish to view); and/or prone to errors (for example, the limited resources made it difficult to deliver
  content to large numbers of client devices without resulting in system crashes or other errors upon
  reaching said limits). Conventional methods further lacked the ability to provide a distributed

  network of servers from which the user could request and access specified content asynchronously
  and/or on-demand. Further, physical limitations existed which limited available resources,
  including bandwidth, storage, and computing power, which could result in the system being
  unworkable or crashing.
  99.    An additional problem that existed with conventional systems was the use of fraudulent
  logs by the owners of content provided by content providers. For example, conventional systems
  at the time often included the provision of content in the form of advertisement banners throughout

  a webpage. At the time, there were webpages that would load with a parade of banner
  advertisements filling up the user’s screen, and, each time the advertisement was loaded, the
  webpage owner would be paid for displaying the advertisement. However, due to the
  overwhelming nature of webpages with numerous banner advertisements, users would often leave
  the webpage before all of the advertisements loaded. Thus, to get around this, webpage owners
  began creating fraudulent logs to indicate the banner advertisements were loaded, but the
  advertisement providers had no way of verifying this. As a result, advertisement providers were
  often forced to pay for views of their content that simply never occurred.
  100.   Technical solutions provided by the claimed inventions of the ‘376 Patent to the technical
  problems faced include the use of a distributed node server architecture wherein the node servers


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  may be added to a vast “army” of third-party servers for use in distributing content to client
  devices; the identification and maintenance of a list of node servers by the core server and transfer,
  from the core server to the client device, of the identity of selected, most proximate and/or
  available node servers which contain the specified content sought by the user; the use of
  incentives as compensation to the owners of the node servers for the use of their additional
  resources; and the communication of a successful transfer of the specified content between the
  identified node server, or node servers, and the client device, including in order to ensure the
  user was able to receive the content and determine whether the chosen incentive should be given
  to the owner of the node server by the content provider. ’376/ Figs. 1 & 2; Figs. 1 & 2; 1:49-56;
  2:8-24; 3:23-4:47; 5:5-8:16; 8:47-50; 8:60-67; 9:1-43; 10:3-11:38; 11:56-14:25; 14:61-64; 15:17-

  24; 16:4-17:38; 17:49-67; 18:1-39; & 18:54-24:40. Including as noted herein, this, in turn,
  provides the ability for client devices to be served by node servers with better and/or more
  available resources and/or that are more closely located to the client, including by employing
  already-existing node servers owned by third parties which provide specified content to only a
  subgroup of client devices, thus allowing the core server to act as a traffic director, redirecting
  client devices to a more local node server with its own bandwidth, hardware, and software used
  to deliver the content to a client device at the specific time the client device requests the content.

  ’376/Figs. 1 & 2; 1:49-56; 2:8-24; 3:23- 4:47; 5:5-8:16; 8:47-50; 8:60-67; 9:1-43; 10:3-11:38;
  11:56-14:25; 14:61-64; 15:17-24; 16:4-17:38; 17:49-67; 18:1-39; & 18:54-24:40.
  101.   The inventions claimed in the ’376 Patent further represent specific improvements in the
  functionality and capabilities of computer networking, databases, video distribution services, and
  web services and networks, including in regard to network content distribution services, systems,
  and network databases, including a network location database. The inventions claimed in the ’376
  Patent, for example, improve the functionality of network database systems, for example, by
  facilitating or allowing the core server to maintain a list of node servers, and their respective
  available resources, proximity, availability for use, content stored thereon, and other information,




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  including so that the foregoing information may be used to provide the client device with the
  identity of the most reliable node server which can provide the specified content sought by the
  user. ’376/Fig. 2; 5:51-64; 6:11-14; 9:1-19; 16:4-17:38; 18:1-39; & 23:1-24:40.
  102.   The inventions claimed in the ‘376 Patent further represent specific improvements in the
  functionality and capabilities of computer databases, video distribution services, and web services
  and networks, including in regard to network content distribution services, systems, and network
  databases, including a network location database. The inventions claimed in the ’376 Patent, for
  example, improve the functionality of video distribution services and network database systems,
  for example, by facilitating or allowing the core server to audit and/or otherwise verify whether
  specified content requested by the user was actually transferred between a node server and client,

  including via the core server communicating with either or both the node server and client to
  request confirmation of the transfer. ‘376/Fig. 2; 4:34-47; 6:52-67; 9:19-43; 10:3-16; 10:54-67;
  13:10-14; 15:17-24; & 21:59-24:40. As a result, the content provider is able to limit payment of
  incentive compensation only to content that has actually been transferred. ’376/Fig. 2; 4:34-47;
  6:52-67; 9:19-43; 10:3-16; 10:54-67; 13:10-14; 15:17-24; & 21:59-24:40.
  103.   Including as described in the ‘376 Patent, and as noted herein, the claimed inventions
  include unconventional and inventive technological solutions to the technical problems that existed

  at the time, including to increasing and/or improving, for example, ease-of-use, functionality,
  efficiency, and reliability in systems for content distribution over a network and network databases.
  For example, the claimed inventions of the ‘376 Patent, including as described herein, provide
  technical solutions that improve, inter alia, computer and database technology, including for
  distribution of high-bandwidth content over a network, including by providing a distributed
  network of third-party-owned node servers providing a more reliable and scalable system and
  providing a better user experience, including by permitting asynchronous and/or on-demand
  viewing at the client device. In this way, the claimed inventions of the ‘376 Patent reduce the use
  of the content provider’s computing devices (e.g., servers) and resources thereon, including the
  use of the content provider’s and user’s network traffic (e.g., bandwidth) – which, including as


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  noted herein, was highly limited at the time of the patented inventions, especially on mobile
  networks, and often costly and not always available – because the content provider is not required
  to maintain connections with every client the entire time the specified content is being transferred
  to the client, including because such transfers are offloaded to the node servers. As noted herein,
  specifically with respect to home devices and mobile devices, it was often not possible to
  continually maintain a network connection, especially in view of the potential for the content
  provider’s servers to become unreachable due to crashing or otherwise, resulting in the client
  device having to attempt to reconnect before the content was fully delivered. The inventions of the
  ’376 Patent provide a technical solution to this problem by offloading the large number of
  connections from the core server onto a distributed system of node servers, each of which serves

  only a small portion of the total amount of clients.
         b. The ‘376 Claimed Inventions Provide Unconventional Solutions
  104.   Plaintiff refers to and incorporates the allegations in the above paragraphs as if set forth
  fully herein.
  105.   Including as noted herein, what was conventional at the time comprised, for example, pure
  single server-client systems, pure multi-server single-client systems, and singularly-owned
  distribution systems, which, at best, either caused the data to be so small that it was of poor quality

  or brute-forced the content by throwing costly bandwidth, hardware, and software at the problem,
  including as shown in the prior art systems described in the specification, including the cited
  Kenner reference, and herein. However, including due to limitations on available resources and
  the lack of consistent, reliable, and scalable systems to provide a reliable user experience, users
  seeking high-bandwidth content were often simply unable to do so because it was unavailable
  because content providers simply did not, because they could not, provide it. Further, a user was
  unable to choose when they viewed the specified content absent some clever, yet burdensome,
  methodology of calculating exactly how long the transfer would take, connecting at the exact time
  necessary so the file would be available when the user wished, and hoping the transfer completed
  without issue, such as disconnection. By leveraging network and web-based systems, the patented


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  inventions improved upon the conventional methods of distribution of high-bandwidth content
  over a network, which suffered from the many issues noted herein.
  106.    Unconventional solutions provided by the claimed inventions of the ‘376 Patent include
  the leveraging of the resources, such as bandwidth and computing power and/or storage, of third
  party-owned computing devices in order to create a distributed network of servers which may store
  various content offered by the content provider so that the node servers, rather than the core server,
  are required to maintain a connection with the client devices for transfer of specified content.
  Including as set forth in the specification of the ‘376 Patent, the bandwidth-heavy communications
  overhead of transmitting high-bandwidth content is performed on a far more reliable network,
  resulting in much less likelihood a user would get logged off prior to the completed transfer or the

  connection failing, and, furthermore, a diminished amount of traffic occurs on the core server,
  effectively permitting more clients to reliably access specified content. ’376/Figs. 1 & 2; 1:49-56;
  2:8-24; 3:23-4:33; 5:5-21; 7:12-8:16; 10:17-37; 10:54-58; 13:15-62; 18:24-27; & 19:19-22.
  107.    The patented inventions of the ‘376 Patent further provided unconventional solutions by
  at least leveraging the use of incentives in order to recruit third parties to provide the use of their
  resources, such as bandwidth and computing power and/or storage, and ensuring the content was
  transferred in order to correctly award incentives for successful transfers. ’376/Fig. 2; 4:34-47;

  6:52-67; 9:19-43; 10:3-16; 10:54-67; 13:10-14; 15:17-24; & 21:59-24:40. Including as noted
  herein, and as argued during prosecution of the ‘376 Patent, it was unconventional to have
  distributed, server-based and/or network-based systems which were provide built via the use of
  incentives to third parties for the user of already-existing resources, as opposed to the conventional
  method of content providers expending both money, including in infrastructure expense and
  ongoing operation costs, and available resources in order to meet traffic demands.
  108.    Further, the asserted claims of the ‘376 Patent claim unconventional systems, computer
  readable media, and methods which provide a distributed network of third-party-owned node
  servers providing a more reliable and scalable system and providing a better user experience,
  including by permitting asynchronous and/or on-demand viewing at the client device – as opposed


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  to using conventional systems and methods to provision content over a network, such as those
  described in the ‘376 Patent and herein.


         b. The ‘376 Claimed Inventions Provide Technological Solutions to Technological
            Problems
  109.   Plaintiff refers to and incorporates the allegations in the above paragraphs as if set forth
  fully herein.
  110.   The claimed content provisioning systems and methods of the ‘376 Patent provide a
  number of benefits over conventional systems and methods, including conventional pure single
  server-client systems, conventional pure multi-server single-client systems, and conventional
  singularly-owned distribution systems. These benefits include the ability of the content provider
  to accommodate vastly more client devices; provide a larger amount of content using the same
  resources; provide improved quality and sized content; provide content to client devices in an
  asynchronous and/or on-demand manner; reduced costs to content providers for implementing and
  maintaining their systems; distributing the resource load across all node servers; exponential
  reduction in amount of streams by requiring only a single transmission to each client by the node

  server; permitting the distribution of content via transmission at off times, rather than precisely
  when the client connects; better scalability and the ability to add node servers in an exponential
  growth; providing a feedback mechanism to ensure the content was actually delivered via strong

  compensation mechanisms; improved system reliability to client devices; and/or cost-savings for
  client devices by reducing the amount of data used and/or connectivity time. ’376/Claims 37 & 57.
  111.   In addition, conventional systems and methods required heavy investment by the content
  provider as the amount or scale of the servers increases, meaning the content provider was required
  to pay for additional hardware and/or software as well as the maintenance costs therefor, including
  because, at the time, the convention was not to have idle bandwidth available because the
  enormous expense of bandwidth meant such idle bandwidth was money wasted. The claimed
  inventions of the ‘376 Patent allow, for example, the system to distribute the specified content via



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  the use of distributed third-party node servers, thus, inter alia, offloading and reducing resource
  usage of the content provider’s servers, resulting in less investment needed by the content provider.
  The claimed inventions of the ’376 Patent further allow, for example, asynchronous and/or on-
  demand distribution of the content, regardless of the status of the content provider’s band-width
  usage and availability, resulting in users being able to view the specified content even when the
  core server is otherwise inoperable or unreachable. The claimed inventions of the ‘376 Patent
  allowed devices with lower bandwidth and intermittent internet connectivity, such as dial-up and
  wireless or mobile devices, to work reliably with distributed content systems when requesting and
  receiving content from the content provider’s server, including because the connectivity to the
  content provider’s systems was done on a reliably connected, more proximately, located third party

  server.
            c. The ’376 Claimed Inventions Provide Technological Solutions to Technological
               Problems
  112.      Plaintiff refers to and incorporates the allegations in the above paragraphs as if set forth
  fully herein.
  113.      Consistent with the above discussion, including the problems solved that had been faced

  by conventional content provisioning systems and provisioning content to clients over a network,
  and further in consideration of the ‘376 Patent specifications, the prosecution history, and cited
  prior art, a POSITA would understand that the claimed “[core server] identifying . . a network site

  that will act as a node server for distribution of specified content; [to] provid[e] . . .the specified
  content to the node server; [so that the core server can]…receiv[e] . . . a request from a client for
  specified content; . . . communicat[e] to the client the identity of the node server having the
  specified content . . . enabling the client to request transmission of the specified content from the
  node server; and . . . ascertain[] that the node server [has] transmitted the specified to the client,
  wherein an owner of the node server is offered an incentive as compensation for transmission of
  the specified content to the client,” including based on the use of a distributed node server
  architecture, and including in combination with the claims of the ’376 Patent, as a whole, is an



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  inventive technological solution, including in view of the benefits and unconventional solutions
  this involves and contributes to. ’376/Claim 1; Figs. 1 & 2; 1:49-56; 2:8-24; 3:23-4:47; 5:5-8:16;
  8:47-50; 8:60-67; 9:1-43; 10:3-11:38; 11:56-14:25; 14:61-64; 15:17-24; 16:4-17:38; 17:49-67;
  18:1-39; & 18:54-24:40.
  114.   For example, using certain technology claimed in the ‘376 Patent, (for example, the core
  server and node server in conjunction), it becomes possible to, among other things, provide the
  node server with content requested by client devices so that client devices may request and obtain
  specified content from the node server at a more preferential time for the client device, such as
  during off-peak hours or when the client device has a more stable connection. ‘376/Figs. 1 & 2;
  1:49-56; 2:8-24; 3:23-4:47; 5:5-8:16; 8:47-50; 8:60-67; 9:1-43; 10:3-11:38; 11:56-14:25; 14:61-

  64; 15:17-24; 16:4-17:38; 17:49-67; 18:1-39; & 18:54-24:40.
  115.   The ‘376 claimed inventions comprise inventive improvements over prior technologies in
  order to overcome problems, including those technical problems noted herein, related to computer
  networks, content distribution, and database management (for example, related to content
  providers) including in combination with the provision of high-bandwidth content over the Internet
  from a content provider to many clients, the ability to provide clients with multiple pieces of
  content, and the ability to access and communicate with the user’s client device at various times,

  including in order to distribute content at a time chosen by the user, including via a network which
  is accessible via a web browser or similar functionality. For example, the claimed inventions
  provide inventive solutions related to the conventional issues and inefficiencies (for example, as
  described herein) that were related to distributing large amounts of content and/or content to large
  numbers of clients (for example, high-bandwidth content from content providers) over a network,
  such as the Internet, via the use of third-party-owned, distributed node servers, including storing
  and/or maintaining relevant characteristics regarding the node servers (for example, bandwidth,
  resources, proximity to a client, etc.) in a node server database and which may be accessible via a
  network (for example, the Internet) such as through a web server. Further, the use of the feedback




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  compensation system provides the content provider a means of ensuring the content was
  successfully received by the client, avoiding the issue of conventional systems where false transfer
  logs resulted in content providers paying for transfers that never actually occurred.
  116.     The ‘376 patented inventions further provide inventive improvements in network,
  including distributed content network, architecture, including because the unconventional multi-
  server-server-client architecture and shifting of communications and workload from a centralized
  server to a distributed node server system improve over the conventional, proprietary singular
  server-client architecture. Including as noted herein, in doing so, the claimed inventions reduce the
  workload of the content provider’s servers and use of the content provider’s limited resources by
  providing for various tasks to be run and take place on the distributed node servers, which act as

  intermediaries. Specifically, a POSITA would understand that the avoidance of overloading the
  available resources of the content provider, including by offloading onto a tiered architecture of
  node servers, was inventive and serves as an improvement in network, including distributed
  content network, architecture. Further, the use of an incentive to aid in recruiting additional third
  parties to provide the user of the already-existing resources was inventive. Further,
  the use of a feedback notice informing the core server that the node server successfully transferred
  the entirety of the specified content, including so that the owner of the node server was properly

  provided the chosen incentive, was inventive and serves as an improvement in network, including
  distributed content network, architecture.
  3. The Claims of the Patent-in-Suit do not Unreasonably Preempt their Respective
  Fields
  117.     Plaintiff refers to and incorporates the allegations in the above paragraphs as if set forth
  fully herein.
  118.     Including as noted herein, the ’376 Patent does not claim merely the abstract idea of
  “provisioning content over a network” that provides no inventive concept. Instead, the ’376 Patent
  claim specific methods and systems for provisioning specifically selected content, including from




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  a node server containing the specific content selected by the client, including via a core server
  receiving a request from a client to view specific content and directing the client to connect to a
  specific node server containing that content so that the client may receive the content from the
  node server, and determining that the selected node server has transmitted the selected content to
  the client where infringement of the patent claims can be readily avoided while still practicing any
  alleged abstract idea, given that the patent claims do not purely read on any alleged abstract idea.
  Indeed, the claims of the ‘376 Patent do not provision content as in the prior art, but, instead,
  provision content by a core server providing the content to distributed node servers to provision to
  clients as discussed extensively herein.
  119.   For example, “provisioning content over a network” may be practiced outside of the

  limited scope of the patent claims at least by:
         A. The use of a system such as that described in the Kenner reference (U.S. Patent
         No. 5,956,716), cited by the patent examiner;
         B. The use of a system such as that described in the Guenthner reference (U.S.
         Patent No. 6,135,588), cited by the patent examiner;
         C. The use of distributed core servers;
         D. The use of a system which permits a client to download content over time and/or

         in the background and view the content at a later time;
         E. The use of a content capturing device located within the client as the content is
         provisioned;
         F. The use of pre-loaded client devices a user may obtain and view the content;
         and/or
         G. The use of a system which staggers the provisioning to clients in an ordered
         queue.
                                ACCUSED INSTRUMENTALITIES
  120.   Upon information and belief, Defendant Valve Corporation makes, uses, sells and/or offers
  to sell an apparatus, method or system for effecting the provision of content over a network (the


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  “Accused Instrumentalities”) as disclosed in Symbology’s Preliminary Infringement Contentions
  (herein included by reference as Exhibit B.
  121.   As described below in Count 1 - Plaintiff identifies Defendant Valve Corporation, directly
  and indirectly each separately and/or jointly infringe claims 1, 15, 18, 19, 21, 22, 24, 37, 47, 49,
  55, 57, 70, 73, 74, 76, 77, 81, 90, 104, 107, 108, 110, 111, and 113 of the ’376 patent, as shown in
  Exhibit B.
  122.   Upon information and belief, Defendant Gearbox Software Solutions makes, uses, sells
  and/or offers to sell an apparatus, method or system for effecting the provision of content over a
  network (the “Accused Instrumentalities”) as disclosed in Symbology’s Preliminary Infringement
  Contentions (herein included by reference as Exhibit C).

  123.   As described below in Count 2, Plaintiff identifies as shown on its served preliminary
  infringement contentions that Defendants Gearbox, direct and indirectly infringes patent claims 1,
  15, 18, 19, 21, 22, 24, 37, 47, 49, 55, 57, 70, 73, 74, 76, 77, 81, 90, 104, 107, 108, 110, 111, 113
  of the ’376 patent, as disclosed in Symbology’s Preliminary Infringement Contentions (herein
  included by reference as Exhibit C).


      COUNT I – INFRINGEMENT OF U.S. PATENT NO. 7,650,376 BY DEFENDANT

                                      VALVE CORPORATION
  124.   Plaintiff refers to and incorporates the allegations in the above paragraphs as if set forth
  fully herein.
  125.   Plaintiff is the assignee of the ’376 Patent and it has all substantial rights to the ’376 Patent,
  including the right and standing to sue and recover damages for past, present, and future
  infringement of the patent.
  126.   Claim 37 of the ’376 Patent covers a computer readable storage medium or media
  comprising said medium or media “encoded with one or more computer programs including
  instructions for effecting the provision of content over a network, comprising: instructions for
  receiving a request from a client for specified content; instructions for communicating to the client


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  the identity of a node server having the specified content stored thereon, thereby enabling the client
  to request transmission of the specified content from the node server; and instructions for
  ascertaining that the node server transmitted the specified content to the client, wherein an owner
  of the node server is offered an incentive as compensation for transmission of the specified content
  to the client.”
  127.     Claim 57 of the ‘376 Patent covers a method comprising said “method effecting the
  provision of content over a network, comprising the steps of: identifying at a core server a network
  site that will act as a node server for distribution of specified content; providing from the core
  server the specified content to the node server; receiving at the core server a request from a client
  for the specified content; communicating from the core server the identity of the node server to the

  client to enable the client to request transmission of the specified content from the node server;
  and ascertaining at the core server that the node server transmitted the specified content to the
  client, wherein an owner of the node server is offered an incentive as compensation for
  transmission of the specified content to the client.”
  128.     Defendant has infringed, and is now infringing, the ’376 Patent, including at least claim 37
  as shown in the attached Exhibit B to the Complaint. Defendant has directly infringed, and
  continues to directly infringe, the claims of the ’376 Patent, including at least those noted above,

  including by making and using the system in violation of 35 U.S.C. § 271(a). Further, including at
  least to the extent Defendant provides and/or supplies software running on a user’s computer, the
  direct infringement of users that occurs in connection with Defendant’s applications and/or web
  services occurs under the direction or control of Defendant.
  129.     Defendant Valve Corporation has infringed patent claims 1, 15, 18, 19, 21, 22, 24, 37, 47,
  49, 55, 57, 70, 73, 74, 76, 77, 81, 90, 104, 107, 108, 110, 111, 113 of the ’376 patent.


         COUNT 2– INFRINGEMENT OF U.S. PATENT NO. 7,650,376 BY DEFENDANT
                                       GEARBOX SOFTWARE
  130.     Plaintiff refers to and incorporates the allegations in the above paragraphs as if set forth


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  fully herein.
  131.    Plaintiff is the assignee of the ’376 Patent and it has all substantial rights to the ’376
  Patent, including the right and standing to sue and recover damages for past, present, and future
  infringement of the patent.
  132.    Claim 37 of the ’376 Patent covers a computer readable storage medium or media
  comprising said medium or media “encoded with one or more computer programs including
  instructions for effecting the provision of content over a network, comprising: instructions for
  receiving a request from a client for specified content; instructions for communicating to the client
  the identity of a node server having the specified content stored thereon, thereby enabling the client
  to request transmission of the specified content from the node server; and instructions for

  ascertaining that the node server transmitted the specified content to the client, wherein an owner
  of the node server is offered an incentive as compensation for transmission of the specified content
  to the client.”
  133.    Claim 57 of the ’376 Patent covers a method comprising said “method effecting the
  provision of content over a network, comprising the steps of: identifying at a core server a network
  site that will act as a node server for distribution of specified content; providing from the core
  server the specified content to the node server; receiving at the core server a request from a client

  for the specified content; communicating from the core server the identity of the node server to the
  client to enable the client to request transmission of the specified content from the node server;
  and ascertaining at the core server that the node server transmitted the specified content to the
  client, wherein an owner of the node server is offered an incentive as compensation for
  transmission of the specified content to the client.”
  134.    Defendant Gearbox Software has infringed, and is now infringing, the ’376 Patent,
  including at least claims 37 and 57, as shown in the attached Exhibit C to the Complaint.
  Defendant has directly infringed, and continues to directly infringe, the claims of the ’376 Patent,
  including at least those noted above, including by making and using the system in violation of 35
  U.S.C. § 271(a). Further, including at least to the extent Defendant Gearbox Solutions provides


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  and/or supplies software running on a user’s computer, the direct infringement of users that occurs
  in connection with Defendant Gearbox Solution’s applications and/or web services occurs under
  the direction or control of Defendant.
  135.   Defendant Gearbox Software has infringed asserted patent claims 1, 15, 18, 19, 21, 22, 24,
  37, 47, 49, 55, 57, 70, 73, 74, 76, 77, 81, 90, 104, 107, 108, 110, 111, and 113 of the ’376 patent.
                                    WILLFUL INFRINGEMENT
  136.   Plaintiff has had numerous communications with Defendant Valve Corporation explaining
  his infringement of the patents-in-suit.
  137.   Defendant Valve Corporation acknowledged the Plaintiff’s patents, had knowledge of
  these Patents-In-Suit and knowingly continued to infringe Plaintiff’s patents without a license.

  138.   Defendant Gearbox is on notice as of the filing of the original complaint. Gearbox
  Software continues to infringe.
  139.   Plaintiff is seeking exemplary damages due to Defendant Valve Corporation’s willful
  infringement, pursuant to 35 U.S.C. § 284, based on its pre-suit and post filing of a complaint
  conduct. The Supreme Court has eliminated the objective-recklessness standard and instead,
  decided that “the subjective willfulness of a patent infringer, intentional or knowing, may warrant
  enhanced damages, without regard to whether his infringement was objectively reckless.” Halo

  Electronics, Inc. v. Pulse Electronics, Inc., 579 U.S. 93, No. 14–1513, at 10 (June 13, 2016).
                                    DEMAND FOR JURY TRIAL
  140.   Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of
  any issues so triable by right.
                                       PRAYER FOR RELIEF
         WHEREFORE, Plaintiff asks the Court to:
         (a) Enter judgment for Plaintiff on this Complaint on all cases of action asserted herein;
         (b) Enter an Order enjoining Defendant Valve Corporation, its agents, officers, servants,
  employees, attorneys, and all persons in active concert or participation with Defendant Valve
  Corporation, who receives notice of the order from further infringement of the Patent Claims


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  Asserted (or, in the alternative, awarding Plaintiff running royalty from the time judgment going
  forward);
         (c) Award Plaintiff damages resulting from Defendant Valve Corporation infringement in
  accordance with 35 U.S.C. § 284;
         (d) Enter an Order enjoining Defendant Gearbox, its agents, officers, servants, employees,
  attorneys, and all persons in active concert or participation with Defendant who receives notice of
  the order from further infringement of the asserted patent claims (or, in the alternative, awarding
  Plaintiff running royalty from the time judgment going forward);
         (c) Award Plaintiff damages resulting from Defendant Valve Corporation infringement in
  accordance with 35 U.S.C. § 284;

         (d) Award Plaintiff such further relief to which the Court finds Plaintiff entitled under law
  or equity; including treble damages for willful infringement against Defendant Valve and/or
  Corporation or Defendant Gearbox.




  Dated: March 15, 2024                                Respectfully Submitted,

                                                       /s/ Randall Garteiser
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                                                       COUNSEL FOR PLAINTIFF



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